      Case: 4:18-cv-00217-JAR Doc. #: 1 Filed: 02/08/18 Page: 1 of 3 PageID #: 1



                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

KATHLEEN HENNESSEY,                          )
                                             )
        Plaintiff,                           )
                                             )
vs.                                          )      Case No.
                                             )
MEDICREDIT, INC.,                            )
                                             )
        Defendant.                           )

                                   NOTICE OF REMOVAL

        Defendant Medicredit, Inc. (“Medicredit” or “Defendant”) hereby files its Notice of

Removal of the above-captioned case to this Court and, and in support of removal, respectfully

states as follows:

        1.      Medicredit is named as defendant in Civil Action No. 1822-CC00047 filed in the

Circuit Court of the City of Saint Louis, Missouri, styled Kathleen Hennessey v. Medicredit, Inc.

(the “State Court Action”).

        2.      The Petition in the State Court Action was filed with the Clerk of the Circuit

Court of the City of Saint Louis on or about January 9, 2018. Pursuant to 28 U.S.C. § 1446(a),

copies of all process, pleadings and orders served upon Defendant in the State Court Action are

attached hereto as Exhibit A.

        3.      In the State Court Action, Plaintiff alleges that Defendant violated a federal

statute, the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”).

        4.      Any civil action is removable if the plaintiff could have originally brought the

action in federal court. See 28 U.S.C. § 1441(a).

        5.      Under 28 U.S.C. § 1331 this Court has original federal question jurisdiction over

Plaintiff’s FDCPA claims.
                                                                                        SL 2669301.1
    Case: 4:18-cv-00217-JAR Doc. #: 1 Filed: 02/08/18 Page: 2 of 3 PageID #: 2



        6.      Accordingly, pursuant to 28 U.S.C. § 1441(a), Defendant has the right to remove

the State Court Action to this Court, without regard to the citizenship or residency of the parties

or the amount in controversy.

        7.      Defendant was formally served with the Summons and Petition on January 9,

2018. This removal is therefore timely pursuant to 28 U.S.C. § 1446(b).

        8.      By this Notice of Removal, Defendant does not waive any defense, jurisdictional

or otherwise, which it may possess. Defendant also does not concede that Plaintiff has stated a

claim against it.

        WHEREFORE, in accordance with the authorities set forth above, Defendant hereby

removes this action from the Circuit Court of the City of Saint Louis, Missouri, to the United

States District Court for the Eastern District of Missouri.

        DATED this 8th day of February, 2018.

                                                  Respectfully submitted,
                                                  SPENCER FANE LLP

                                              By: /s/ Ryan C. Hardy
                                                 Ryan C. Hardy, #62926MO
                                                 1 North Brentwood Blvd., Suite 1000
                                                 St. Louis, MO 63105
                                                 (314) 863-7733 (telephone)
                                                 (314) 862-4656 (facsimile)
                                                 rhardy@spencerfane.com
                                                 Attorneys for Defendant




                                                  2                                      SL 2669301.1
    Case: 4:18-cv-00217-JAR Doc. #: 1 Filed: 02/08/18 Page: 3 of 3 PageID #: 3



                                 CERTIFICATE OF SERVICE
       I hereby certify that the foregoing document was filed electronically with the United
States District Court for the Eastern District of Missouri, this 8th day of February, 2018, with a
true copy mailed, first class postage prepaid, to:
       James W. Eason
       The Eason Law Firm, LLC
       124 Gay Avenue, Suite 200
       St. Louis, MO 63105
       Attorneys for Plaintiff
                                                     /s/ Ryan C. Hardy




                                                     3                                  SL 2669301.1
